Case 1:23-md-03076-KMM Document 1 Entered on FLSD Docket 06/06/2023 Page 1 of 5
                Case MDL No. 3076 Document 138 Filed 06/05/23 Page 1 of 5




                                UNITED STATES JUDICIAL PANEL
                                             on
                                 MULTIDISTRICT LITIGATION


  IN RE: FTX CRYPTOCURRENCY EXCHANGE
  COLLAPSE LITIGATION                                                                    MDL No. 3076


                                         TRANSFER ORDER


          Before the Panel: ∗ This litigation arises out of the collapse of the FTX cryptocurrency
  exchange in November 2022 and the subsequent bankruptcy of FTX Trading Ltd. and its
  U.S. affiliate FTX US (together, FTX). Plaintiffs are FTX customers and investors seeking to
  recover their losses. Defendants are individuals and entities that allegedly facilitated FTX’s
  wrongful conduct. This litigation currently consists of eight actions pending in two districts, as
  listed on Schedule A. Since the filing of the motion, the Panel has been notified of eleven related
  actions in the Northern District of California, Southern District of Florida, District of New Jersey,
  and Southern District of New York. 1 Plaintiffs in the consolidated Garrison and Podalsky actions
  move under 28 U.S.C. § 1407 to centralize this litigation in the Southern District of Florida.

          Responding plaintiffs’ positions on centralization vary. Plaintiffs in three actions support
  centralization in the Southern District of Florida, and plaintiff in one action supports centralization
  in the Northern District of California. Plaintiffs in eleven actions oppose centralization or request
  exclusion of their actions from any MDL. In particular, plaintiffs in two potential tag-along actions
  (Rabbitte and Gershovich) which bring claims solely against investment firms Sequoia Capital
  Operations, LLC, Paradigm Operations LP, and Thoma Bravo, LP, request exclusion of their
  actions. Plaintiff in a potential tag-along action against Signature Bank (Statistica Capital)
  requests exclusion of that action. And plaintiffs in two potential tag-along actions request
  exclusion of the Bhatia, Magleby, and Keane actions against the Silvergate Bank defendants. 2
  Most of the opposing plaintiffs propose the Northern District of California if the actions are
  centralized over their objections. Opposing plaintiff in one action (O’Keefe) proposes the Southern
  District of Florida.




  ∗ One or more Panel members who could be members of the putative classes in this litigation have

  renounced their participation in the classes and have participated in this decision.
  1
   These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1
  and 7.2.
  2
      The Silvergate Bank defendants are Silvergate Bank, Silvergate Capital Corp., and Alan J. Lane.
Case 1:23-md-03076-KMM Document 1 Entered on FLSD Docket 06/06/2023 Page 2 of 5

                                                    -2-


           Responding defendants’ positions on centralization also vary considerably. 3 Sequoia,
  Paradigm, and Thoma Bravo support centralization and have no preference on the transferee
  district. Prager Metis and Armanino support centralization in the Southern District of Florida. The
  Celebrity Defendants oppose centralization. 4 The Silvergate Bank defendants oppose inclusion of
  any claims against them, and the FDIC opposes inclusion of the Statistica Capital action against
  Signature Bank.

          In opposition to centralization, the various plaintiffs and defendants primarily argue
  that the actions lack sufficient common questions of fact and informal coordination provides a
  practicable alternative. We find these arguments unpersuasive. The actions undoubtedly involve
  several non-overlapping defendants and raise defendant-specific issues. But they all rest on the
  same core set of facts concerning the alleged fraud that led to FTX’s collapse and, in particular,
  revolve around the conduct of FTX’s Samuel Bankman-Fried, the relationship with another
  Bankman-Fried company known as Alameda Research, and Alameda’s Caroline Ellison. Indeed,
  Bankman-Fried and Ellison are defendants in seven of the eight actions on the motion, and are
  central figures in all of the related actions before the Panel. Moreover, all actions on the motion
  allege that there was a conspiracy between Bankman-Fried and other alleged FTX insiders to make
  misrepresentations to consumers and investors to induce them to invest in FTX products and use
  the FTX exchange. This common factual core warrants centralization despite the involvement of
  a number of different defendants. See, e.g., In re January 2021 Short Squeeze Trading Litig.,
  MDL No. 2989, 2021 WL 1258399 (J.P.M.L. 2021) (centralizing actions “nam[ing] more than
  forty brokers, funds, and clearinghouses as defendants” where all actions involved common
  conduct concerning the Robinhood trading platform). Transfer under Section 1407 does not
  require a complete identity of common factual issues or parties as a prerequisite to transfer, and
  the presence of additional facts or differing legal theories is not significant where, as here, the
  actions still arise from a common factual core. See In re Auto Body Shop Antitrust Litig., 37 F.
  Supp. 3d 1388, 1390-91 & n.5 (J.P.M.L. 2014).

          We further find that informal coordination is not an adequate alternative to centralization.
  Although the actions in the Northern District of California are in the process of being organized
  into three tracks, there are still seven distinct groups of non-overlapping plaintiffs’ counsel
  pursuing claims in this litigation, including potential tag-along actions, on behalf of putative global
  and nationwide classes. Additionally, dozens of defendants are involved, with little overlap in
  their counsel. The large number of plaintiffs’ and defense counsel will pose serious obstacles to
  informal coordination. Inefficiencies also will arise from having to coordinate these unusually
  complex actions involving novel cryptocurrency issues with the related criminal case in the
  Southern District of New York and the bankruptcy case in the District of Delaware. Moreover,
  informal coordination does not address the possibility of inconsistent rulings on Daubert and class
  certification issues.

  3
    The responding defendants are Prager Metis CPAs, LLC; Armanino LLP; Sequoia Capital
  Operations, LLC; Paradigm Operations LP; Thoma Bravo, LP; the Silvergate Bank defendants;
  and seven “Celebrity Defendants” – the Golden State Warriors, Thomas Brady, Gisele Bündchen,
  Lawrence David, Kevin O’Leary, David Ortiz, and William Trevor Lawrence. Additionally, the
  Federal Deposit Insurance Corporation responded as receiver for Signature Bank.
  4
      The Golden State Warriors alternatively request the Northern District of California.
Case 1:23-md-03076-KMM Document 1 Entered on FLSD Docket 06/06/2023 Page 3 of 5

                                                   -3-



          Although the Signature Bank and Silvergate Bank defendants are named only in the
  potential tag-along actions – not in the actions on the motion – we received extensive briefing and
  oral argument on whether the MDL should include them. Both plaintiffs and defendants in those
  actions oppose their inclusion in an MDL because Signature Bank was closed in March 2023 and
  is in FDIC receivership, and Silvergate Bank is in voluntary liquidation. Additionally, at oral
  argument, movants conceded that centralization of these claims is not warranted given the closure-
  related issues unique to those entities. 5 Based on this record, we do not intend to include the claims
  against Signature Bank and the Silvergate Bank defendants. 6

          On the basis of the papers filed and the hearing session held, we find that the actions on
  Schedule A involve common questions of fact, and centralization will serve the convenience of
  the parties and witnesses and promote the just and efficient conduct of this litigation. These actions
  present common questions of fact concerning the collapse of the FTX cryptocurrency exchange in
  November 2022, which allegedly was caused by the conduct of FTX former principals Sam
  Bankman-Fried, Zixiao “Gary” Wang, and Nishad Singh, and financial improprieties with
  Alameda Research. All actions allege that FTX executives fraudulently withheld or
  misrepresented information with respect to customer assets on the FTX platform and that the
  professional services firms and celebrity promoters who worked with FTX were complicit in or
  otherwise bear responsibility for the alleged fraud – for example, by concealing FTX’s financial
  problems or promoting FTX products with knowledge or willful blindness of the alleged fraud.
  The common factual questions include: (1) whether FTX executives and their representatives
  misled customers about FTX’s practices for safeguarding customer funds; (2) whether FTX
  executives and their representatives misrepresented the financial condition of the FTX entities;
  (3) whether FTX and Alameda executives embezzled customer assets; (4) the existence and scope
  of a conspiracy; and (5) the nature of FTX products, such as Yield-Bearing Accounts and FTT
  tokens. Centralization will eliminate duplicative discovery; prevent inconsistent pretrial rulings,
  especially with respect to class certification and Daubert motions; and conserve the resources of
  the parties, their counsel and the judiciary.

          The Southern District of Florida is an appropriate transferee district for this litigation.
  A significant part of FTX’s conduct allegedly emanated from this district, where it had its
  U.S. headquarters before filing for bankruptcy. This district also provides an easily accessible
  location for this nationwide litigation. Judge K. Michael Moore, who presides over the actions on
  the motion in this district, is an experienced transferee judge, and we are confident he will steer
  this matter on a prudent and expeditious course.



  5
   For example, plaintiffs in Statistica Capital v. Signature Bank are subject to an exhaustion of
  administrative remedies requirement under the Financial Institutions Reform, Recovery and
  Enforcement Act because of the FDIC receivership, and that action thus has been stayed.
  6
   We intend to transfer the actions against Sequoia, Paradigm, and Thoma Bravo through the
  conditional transfer order process, based on the common factual core discussed above. See Panel
  Rule 7.1(b). Those actions do not present the same efficiency concerns as the actions involving
  banks in closure-related proceedings.
Case 1:23-md-03076-KMM Document 1 Entered on FLSD Docket 06/06/2023 Page 4 of 5

                                                 -4-


          IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
  the Southern District of Florida are transferred to the Southern District of Florida and, with the
  consent of that court, assigned to the Honorable K. Michael Moore for coordinated or consolidated
  pretrial proceedings.


                                          PANEL ON MULTIDISTRICT LITIGATION



                                        _________________________________________
                                                     Karen K. Caldwell
                                                          Chair

                                       Nathaniel M. Gorton           Matthew F. Kennelly
                                       David C. Norton               Roger T. Benitez
                                       Dale A. Kimball               Madeline Cox Arleo
Case 1:23-md-03076-KMM Document 1 Entered on FLSD Docket 06/06/2023 Page 5 of 5




  IN RE: FTX CRYPTOCURRENCY EXCHANGE
  COLLAPSE LITIGATION                                              MDL No. 3076


                                      SCHEDULE A


             Northern District of California

        LAM v. BANKMAN-FRIED, C.A. No. 3:22−07336
        PIERCE v. BANKMAN-FRIED, ET AL., C.A. No. 3:22−07444
        HAWKINS v. BANKMAN-FRIED, ET AL., C.A. No. 3:22−07620
        JESSUP v. BANKMAN-FRIED, ET AL., C.A. No. 3:22−07666
        PAPADAKIS v. BANKMAN-FRIED, ET AL., C.A. No. 3:23−00024

             Southern District of Florida

        GARRISON v. BANKMAN-FRIED, ET AL., C.A. No. 1:22−23753
        PODALSKY, ET AL. v. BANKMAN-FRIED, ET AL., C.A. No. 1:22−23983
        NORRIS, ET AL. v. BRADY, ET AL., C.A. No. 1:23−20439
